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2021 NEW ITEMS
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           2021 Innovation Calendar
February                 March                              April                   May




                                                                                    TBD
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                         2021 Innovation
BUBLY FLAVOR EXTENSION
 Product Attributes:
 Refreshing and crisp naturally flavored unsweetened
 sparkling water
 No calories
 No sweeteners
 All smiles




                   Bubly Berry Pom 8pk                                    Bubly
                                                                          BublyWPG
                                                                                WPG8pk
                                                                                   8pk




                   0    12000 19079      7                            0   12000 19078    0
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                            2021 Innovation
    BUBLY BOUNCE
    Product Attributes:
    Refreshing and crisp naturally flavored unsweetened
    sparkling water (No calories, No sweeteners, All smiles)
    Incremental “combo” fruit flavors
    35mg caffeine/ 12oz




Bubly Bnc MgoPfrt 8pk   Bubly Bnc Trp Bry 8pk   Bubly Bnc Bld Org Grft 8pk   Bubly Bnc MgoPfrt 16oz       Bubly Bnc Trp Bry 16oz




0   12000 19439    9    0   12000 20568     2    0   12000 20566      8      0   12000 20029    8     0     12000 20335      0
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                                      2021 Innovation
    GATORLYTE                                                                                           BOLT 24 FLAVOR EXTENSION
     Insights:                                                                                               Product Attributes:
     Gatorlyte concept delivered strong scores, with high potential                                          • 10g Collagen
     Rapid rehydration claim leans into the key benefit of the cate-                                         • Electrolytes from Watermelon &
     gory                                                                                                      Sea Salt
     Electrolit’s buyer base is drawn to “rehydration benefits” from                                         • No Artificial Sweeteners or flavors,
     high electrolyte content, and Gatorlyte has a scientifically                                              No Added Colors
     backed formula with higher electrolyte content than Electrolit                                          • 40 calories per 16.9oz bottle
     Launching in flavors that index highly with the Hispanic con-
     sumer



                                                                                     LTO




Strawberry Kiwi 20oz           Orange 20oz           Cherry Lime 20oz           Citrus Swish 28oz        Apple Pear 16.9oz             Peach Mango 16.9oz




0   52000 04791        2   0   52000 04790   5   0   52000 04900        8   0   52000 04824         7    0   52000 04777     6         0   52000 04778   3
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                                 2021 Innovation
    Product Attributes
    • 180mg Caffeine/16oz Can
    • 5% Real Fruit Juice
    • Antioxidants (Vitamins A & C)
    • 0g Added Sugar
    • Zinc for Immune Support
    • Citicoline for a mental boost
    • Low Calorie – 25 Calories per 16oz Can




     Rise Pom Blu Brst           Rise Stw Mln Sprk           Rise Org Breeze           Rise Pch Mgo Dawn         Rise Trop Sunrise          Rise Bry Blitz




0    12000 20629         0   0   12000 20644         3   0   12000 20632       0   0    12000 20638        2 0    12000 20635        1 0   12000 20641       2
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                     2021 Innovation
LIFEWTR
                                                      Product Attributes
Product Attributes
                                                      Zero Sugar
• Zinc Helps Support Immune Function
                                                      20 calories
• Good Source of Zinc (10% DV/12oz)
                                                      240mg caffeine
• Electrolytes for Taste                              B-vitamins
• Great Tasting & Hydrating                           Taurine




LifeWTR Immune Support 1Lt
                                            LIME CUCUMBER         WTR MELON KIWI             MANGO GUAVA



   0   12000 20562   0                      8   18094 00495   4      8     18094 00497   8   8   18094 00499   2
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                          2021 Innovation
PEPSI MANGO
     Product Attributes
     • Unique Ingredients: Mango
       Juice in Full Sugar Formula
     • Caloric Content: Full Sugar
       Mango 150 cals per 12 oz
       (41g Sugar per 12oz)




       Pepsi Mango 20oz                            Pepsi Mango 4/6/16.9oz                   Pepsi Mango 2/12/12oz




 0    12000 18421         5                    0     12000 20605        4               0   12000 18420         8
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               2021 Innovation
FORMULATED TO DELIVER THE SAME FULL FLAVOR
    & SWEETNESS OF REGULAR DR PEPPER



DR PEPPER ZERO                                              DR PEPPER CREAM ZERO




 2/12/12oz   4/6/16.9oz         2 liter             20oz.             2/12/12oz       20oz.
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                               2021 Innovation
                                       100 days of Summer LTO’s




    Dew-S-A 12oz 12pk                  Dew-S-A 16.9oz 6pk       Dew-S-A 20oz       Pepsi Blue 16.9oz 6pk       Pepsi Blue 20oz




0    12000 20125        7          0   12000 20543      9   0   12000 20127    1   0   12000 20589     7   0   12000 20292       6
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                    2021 Innovation
               Lipton Jug conversion




                              Dt Green Tea Citrus 64oz          Peach 64oz                 Sweet
                                                                                           Sweet64oz
                                                                                                 64oz
Green Tea Citrus 64oz




0   12000 20580     4          0   12000 20582     8       0   12000 20584   2       0    12000 20586   6
